     Case 4:20-cv-00253-P Document 7 Filed 05/13/20                     Page 1 of 5 PageID 44




                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

Brian Keith Umphress,                           §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §        Case No. 4:20-cv-00253-P
                                                §
David C. Hall, et al.,                          §
                                                §
       Defendants.                              §


            DEFENDANTS’ MOTION TO DISMISS OR TRANSFER,
                    BASED ON IMPROPER VENUE

       Defendants David C. Hall, Ronald E. Bunch, David M. Petronella, Darrick L.

McGill, Sujeeth B. Draksharam, Ruben G. Reyes, Valerie Ertz, Frederick C. Tate,

Steve Fischer, Janis Holt, M. Patrick Maguire and David Schenck, each of whom

has been sued only in his or her official capacity as a Member of the State

Commission on Judicial Conduct (“the Commission”), file this their Rule 12(b)(3)

motion to dismiss or transfer, based on improper venue and would respectfully show:

       1.     Venue in this District is improper. Proper venue is in the Western

District of Texas, which is both (i) the residence of each of these Texas officials in

their official capacity and (ii) the district where all the alleged events or omissions

                    Defendants’ Motion to Dismiss or Transfer, Based on Improper Venue
                                                 Page 1
                                                                                         3603368.v1
    Case 4:20-cv-00253-P Document 7 Filed 05/13/20                   Page 2 of 5 PageID 45




giving rise to Judge Umphress’ claims occurred. Proper analysis looks to where

Defendants’ allegedly wrongful events or omissions occurred – not to where Judge

Umphress perceives an impact from those allegedly wrongful acts.

      2.     As described in the certificate of conference below, this motion is

opposed.

      3.     A brief supporting this motion and a declaration of Jacqueline R.

Habersham (in the form specified under 28 U.S.C. § 1746(2)) are filed with this

motion.

      4.     A proposed order is attached.

      5.     Defendants respectfully pray that this action be dismissed without

prejudice, or alternatively that it be transferred to the Austin Division of the Western

District of Texas. Defendants further pray for all other relief, at law or in equity, to

which they may be justly entitled.




                 Defendants’ Motion to Dismiss or Transfer, Based on Improper Venue
                                              Page 2
                                                                                      3603368.v1
Case 4:20-cv-00253-P Document 7 Filed 05/13/20                 Page 3 of 5 PageID 46




                                       Respectfully submitted,

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           Defendants’ Motion to Dismiss or Transfer, Based on Improper Venue
                                        Page 3
                                                                                3603368.v1
    Case 4:20-cv-00253-P Document 7 Filed 05/13/20                  Page 4 of 5 PageID 47




                       CERTIFICATE OF CONFERENCE

      I certify that on May 11, 2020, the undersigned conferred with Plaintiff’s

counsel Jonathan Mitchell. Mr. Mitchell advised that the motion is opposed.

Plaintiff wishes the case to be heard in Fort Worth and believes that venue is proper

in this Court. Defendants believe that proper venue does not lie in this Court and

wish the case to be heard in Austin, where venue is proper.



                                                      /s/ John J. McKetta III
                                                     John J. McKetta III




                Defendants’ Motion to Dismiss or Transfer, Based on Improper Venue
                                             Page 4
                                                                                     3603368.v1
    Case 4:20-cv-00253-P Document 7 Filed 05/13/20                   Page 5 of 5 PageID 48




                            CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing was served upon the following on this

13th day of May, 2020, both (i) by filing it with the Court’s electronic filing system

and (ii) by email:

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                                                      /s/ John J. McKetta III
                                                      John J. McKetta III


                 Defendants’ Motion to Dismiss or Transfer, Based on Improper Venue
                                              Page 5
                                                                                      3603368.v1
